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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

AMERANTH, INC.                                    )
                                                  )
               Plaintiff,                                             2:23-cv-2165
                                                  ) Civil Action No. _______________
                                                  )
v.                                                ) COMPLAINT FOR
                                                  ) PATENT INFRINGEMENT
DOORDASH, INC.,                                   )
EAT'N PARK RESTAURANTS, LLC, and                  )
EAT'N PARK HOSPITALITY GROUP, INC.,               ) JURY TRIAL DEMANDED
                                                  )
               Defendants.                        )
                                                  )

       For its Complaint, Ameranth, Inc. ("Ameranth"), by and through the undersigned counsel,

alleges as follows:

                                        THE PARTIES

       1.      Ameranth is a Delaware corporation having a principal place of business at 5820

Oberlin Drive, Suite 202, San Diego, California 92121.

       2.      Defendant DoorDash, Inc. ("DDI") is a Delaware company, with, upon information

and belief, a brick-and-mortar store, called DashMart, located at 3232 Penn Avenue, Pittsburgh,

Pennsylvania 15201, which has been open since 2021.

       3.      DDI's Form 10-K at p. 28 for Fiscal Year 2022, which was signed February 24,

2023, states that "[w]e face certain risks in connection with the operation of DashMart and Wolt

Market, our first-party owned and self-operated convenience and grocery delivery businesses."

(available at https://d18rn0p25nwr6d.cloudfront.net/CIK-0001792789/6c80c6fa-ff0b-44e3-963b-

a6c60669ff56.pdf (last accessed Dec. 20, 2023).

       4.      The DoorDash website on which DashMart job openings are posted

(https://careers.doordash.com) is also the website that provides investor information for the

publicly traded DDI (https://ir.doordash.com/).
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          5.        On August 5, 2020, DDI announced: "DashMart stores are owned, operated, and

curated        by   DoorDash."         Introducing    DashMart,     Aug.    5,   2020     (available    at

https://about.doordash.com/en-us/news/introducing-dashmart (last accessed Dec. 20, 2023).

          6.        Defendant Eat'N Park Restaurants, LLC is a Pennsylvania company, with upon

information and belief, a place of business located at 285 East Waterfront Drive, Homestead,

Pennsylvania 15120.

          7.        Defendant Eat'N Park Hospitality Group, Inc. is a Pennsylvania company, with

upon information and belief, a place of business located at 285 East Waterfront Drive, Homestead,

Pennsylvania 15120.

          8.        Defendants Eat'N Park Restaurants, LLC and Eat'N Park Hospitality Group, Inc.

are collectively referred to herein as "Eat'N Park."

          9.        Defendant DDI and Eat'N Park are collectively referred to herein as "Defendants."

                                     JURISDICTION AND VENUE

          10.       This action arises under the Patent Act, 35 U.S.C. § 1 et seq.

          11.       Subject matter jurisdiction is proper in this Court under 28 U.S.C.

§§ 1331 and 1338.

          12.       Upon information and belief, Defendants conduct substantial business in this

forum, directly and/or through intermediaries, including: (i) at least a portion of the infringements

alleged herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses

of conduct and/or deriving substantial revenue from goods and services provided to individuals in

this district and otherwise directs infringing activities to this district in connection with its products

and services. DDI's staff operating at and from its DashMart store in Pittsburgh use products and

services that are accused of infringement herein. The same is true of the hundreds of DDI's




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Delivery Driver Dashers operating within this district. Eat'N Park's staff operating at and from its

restaurant in Pittsburgh use and integrate with DDI products and services that are accused of

infringement herein. That Eat'N Park restaurant and/or other physical locations within this district

clearly establish venue in this district for both Eat'N Park and DDI.

       13.      The same accused products and services are also integrated with, upon information

and belief, more than seven hundred other restaurants/stores operating within this district, see Food

Delivery in Pittsburgh (available at https://www.doordash.com/food-delivery/pittsburgh-pa-

restaurants/ (last accessed May 1, 2023), and with tens of thousands of Pittsburgh area consumers

within this district, using DDI's mobile application and supported by a Pittsburgh, Pennsylvania-

based engineering team, that is focused on activities directly related and contributing to the

infringement allegations herein: DDI is "focused on core platform technologies that drive our

delivery logistics platform and solve some of our team's largest distributed systems challenges."

Brian Bailey, "Pioneering DoorDash's Platform Evolution in Pittsburgh," Oct. 21, 2021 (available

at           https://doordash.engineering/2021/10/21/pioneering-doordashs-platform-evolution-in-

pittsburgh/ (last accessed Apr. 2, 2023)); see also "DoorDash to make regional debut with

DashMart convenience concept on Penn Avenue in Lawrenceville," Sept. 22, 2021 (available at

https://www.wpxi.com/news/business/doordash-make-regional-debut-with-dashmart-

convenience-concept-penn-avenue-lawrenceville/RGRKTXADZVAKZB6GYOV44WO6NA/

(last accessed Apr. 3, 2023)).

       14.      While DDI announced on January 20, 2023, the cancellation of its planned physical

engineering office within this district, the announcement itself admits to infringing activity within

this district, including its engineering talent hub in the Pittsburgh area, and admits to its continuing

to hire engineers within this district, which it has continued to do and still is doing today:




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Tim Schooley, "DoorDash opts against establishing Pittsburgh office, instead staying remote with

local         engineering       team,"        Jan.       20,        2023        (available        at

https://www.bizjournals.com/4ittsburgh/news/2023/01/20/doordash-engineering-office-

pittsburgh.html?utm_campaign=manual&utm_medium=trueAnthem&utm_source=linkedin (last

accessed Dec. 20, 2023)).

        15.     DDI    also   has   an   "Engineering   Leader"    in   Pittsburgh,   Pennsylvania.

https://www.linkedin.com/in/mranney (last accessed Apr. 3, 2023), and the Pittsburgh engineering

team includes numerous data scientists, software programmers, operations research scientists,

partner integrators, computer scientists and more working on all or almost all aspects of the

products and services accused herein of infringement. He and, upon information and belief, other

DDI employees located in this district are working on the products and services accused of

infringement herein. Further, their technical work within this district clearly provides them access

to all of the relevant DDI engineering evidence/information.

        16.     Further, the Pittsburgh engineering team is a centralized platform team that is

contributing to "all aspects of DoorDash's products and internal services":




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Brian Bailey, "Pioneering DoorDash's Platform Evolution in Pittsburgh," Oct. 21, 2021 (available

at           https://doordash.engineering/2021/10/21/pioneering-doordashs-platform-evolution-in-

pittsburgh/ (last accessed Dec. 20, 2023)).

       17.      DDI has stated that "Employees are encouraged to gather in person for . . . 'moments

that matter': product launches, hackathons, team meetings, planning sessions, decision-making and

all-hands gatherings." DDI spokesperson interview, "Remote work or not? How 4 Bay Area

companies are tackling the post-pandemic workplace, Nov. 7, 2022 (available at

https://www.sfchronicle.com/tech/article/remote-work-bay-area-17559854.php          (last   accessed

Dec. 20, 2023). DDI thus directs, ratifies or establishes in person/team meetings involving

members of teams who are employees of DDI, including the Pittsburgh-located DoorDash

Platform Engineering Team. The location(s) of these meetings within this district are regular and

established places of DDI's business because they are used to conduct business of DDI including,

inter alia, conducting engineering activities at DDI's direction and for DDI's benefit.

       18.      By seeking employees specifically for and in its Pittsburgh location, DDI requires

its engineering team members to be located in the Pittsburgh area, thus to maintain employment


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the employee is not free to move out of the Pittsburgh area. DDI requires the pertinent engineering

team members to perform their job functions in the Pittsburgh area, otherwise it would not be

specifying "Pittsburgh, PA" in its job postings. Since the employees work at their own homes in

the Pittsburgh area and not in an office provided by DDI, DDI has established or ratified the

employees' homes as DDI's places of business. The employees' homes are regular and established

places of DDI's business because they are used to conduct business of DDI including, inter alia,

conducting engineering activities at DDI's direction and for DDI's benefit. For example, at least

one Pittsburgh team member, Matt Ranney, the team leader, has used his home office to not only

conduct company business, but also to publicly represent DDI nationwide on technical subject

matter directly related to the infringements alleged herein, thus clearly establishing his home office

location as a DDI physical place of business in this district. See Building Reliable Systems With

DoorDash's         Matt        Ranney         (Mar.        27,       2023)        (available        at

https://www.youtube.com/watch?v=6nIuDNJeE4g (last accessed Dec. 21, 2023)).

       19.     Members of the DoorDash Platform Evolution Engineering Team, as well as other

engineering teams, as discussed above, are (both individually and collectively) located in

Pittsburgh pursuant to DDI's requirement and perform functions directed to DDI's business (in the

employees' homes or elsewhere in the Western District of Pennsylvania).             The employees'

individual and collective activities at DDI's direction separately establish venue over DDI.

       20.     As is stated above, in addition to the engineering team in Pittsburgh, which is

focused on the platform/framework technology of the Ameranth's patent claims as explained and

admitted below, DDI also employs hundreds of delivery Dashers, throughout the district, all of

which use technology that is accused of infringement herein and which is implemented within

DashMart in Pittsburgh, as well as, upon information and belief, more than seven hundred stores




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and restaurants operating within this district and all of which are integrated with tens of thousands

of consumers, each equipped with DDI's mobile application, and all of which are operating

together and within this district.

       21.     Venue is thus proper in this district pursuant to the second clause of 28 U.S.C.

§ 1400(b) which states venue is appropriate "where the defendant has committed acts of

infringement and has a regular place of business."

                                     THE PATENTS-IN-SUIT

        22.     On December 12, 2023, U.S. Patent No. 11,842,415 (the "415 patent"), entitled

"Intelligent Web Server With Multi-Modes of Contact, Multi-Communications Protocols, Multi-

User and Parallel Operational Capabilities for Use in a Hospitality Market Comprising," was duly

and lawfully issued by the U.S. Patent and Trademark Office. A true and correct copy of the '415

patent is attached hereto as Exhibit A.

       23.     On December 19, 2023, U.S. Patent No. 11,847,587 (the "587 patent"), entitled

"Intelligent Backoffice and Handheld/Mobile Computing Network With Varying, Multi-Modes of

Contact, and Parallel Capabilities for Use in Completing Remotely Initiated Hospitality Tasks in

the Hospitality Market Comprising:," was duly and lawfully issued by the U.S. Patent and

Trademark Office. A true and correct copy of the '587 patent is attached hereto as Exhibit B.

       24.     Ameranth is the assignee and owner of the rights, titles and interests in and to the

'415 and '587 patents (the "Network Patents"), including the right to assert all causes of action

arising under said patents and the right to any remedies for infringement of them.

       25.     Claims 1 and 9 of the '415 patent are as follows:

       1. An improved and intelligent web server computer with multi-modes of contact,
       multi-communications protocols, multi-user and parallel operational capabilities
       for use in a hospitality market comprising:

               at least one said web server computer which can be accessed, controlled and


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provide results, statistics and/or reports to a system administrator via a web based
interface;

       at least one hospitality software application integrated with the at least one
said web server computer;

         a master database comprising data and parameters of the at least one
hospitality software application integrated with the at least one said web server
computer and with a usable file structure dictated prior to execution, thus improving
efficiency and reliability, the master database being accessible via a database
application program interface (API) and with predefined formats stored within it,
wherein the API intelligently learns, updates and stores multiple communication
modes of contact and related operational parameters including set periods of time
or reflecting other factors associated with hospitality entities and/or hospitality
users along with their prior preferences, if any;

        Middleware/Framework Communications Control Software, (MFCCS)
which enables via its centralized system layer architecture the at least one web
server computer to communicate with two or more different wireless handheld
computers, each with different mobile operating systems and with mobile
compatible versions of the said hospitality application accessible from and with a
different set of handheld GUI screens uniquely enabled for both user initiating
actions and later selection of choices directly on and from the touchscreens of
said different wireless handheld computers and for multiple modes of contact,
multiple communications protocol functionality, integrated with the master
database and with the at least one hospitality software application;

        at least one external software API, which enables the integration of the at
least one hospitality software application via the MFCCS and its layer architecture
with one or more non­ hospitality applications and to enable real time searches
for communication modes of contact and/or related operational parameters, not
already stored and available in the master database, if any;

        wherein the at least one said web server computer is integrated with the
MFCCS and is programmed with instructions executable to choose and apply a
primary communications mode of contact, for and with the hospitality entities
and/or users, for a period of time, to execute hospitality application task requests
from said two or more wireless handheld computers associated with their
respective users, and further enabled to automatically choose and execute alternate
communication modes of contact and/or alternate communications protocols if
needed and appropriate at the time of execution upon failure of the primary
communications mode of contact, and/or apply rule based intelligence to not
attempt again for an operational period of time the primary communication mode,
the instructions being further executable to enable the at least one said web server
computer to further improve its efficiency by using less computer resources and
less computing time through the avoidance of attempting communications modes
of contact to hospitality entities and/or users and/or for subsequent user


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hospitality application task requests, likely to fail during the operational period
of time if attempted again during that time.:

9. A network of interconnected, intelligent and improved web server computers
with multi-modes of contact, multi-communications protocols, multi-user and
parallel operational capabilities for use in a hospitality market comprising; [sic]

       at least one network of said interconnected web server computers which can
be accessed and controlled by system administrators via a web based interface;

       at least one hospitality software application integrated with the at least one
said web server network;

        a master database comprising data and parameters of the at least one said
hospitality software application integrated with the at least one said network of web
server computers and with a usable file structure dictated prior to execution, the
master database being accessible via a database application program interface
(API) and with predefined formats stored within it, thus improving network
efficiency and reliability, wherein the API intelligently learns, updates and stores
inventory data and/or multiple communication modes of contact and related
operational parameters associated with hospitality entities and/or hospitality users
along with their prior preferences, if any;

        Middleware/Framework Communications Control Software (MFCCS)
which enables via its centralized system layer architecture the at least one said
web server network to communicate with two or more different wireless handheld
computers each with different mobile operating systems and with a different set of
handheld GUI screens uniquely enabled for both user initiating actions and later
selection of choices directly on and from the touchscreens of said different
wireless handheld computers and for multiple modes of contact, multiple
communications protocol functionality, integrated with the master database and
with the at least one hospitality software application;

        at least one external software API, which enables the integration of the at
least one hospitality software application via the MFCCS with one or more non-
hospitality application and to enable access to information not already stored and
available in the master database;

        wherein the at least one web server network is integrated with the MFCCS
and is programmed with instructions enabled to choose and apply a
communications mode of contact for and with the hospitality entities and two or
more different communications modes of contact during the same hospitality
task with handheld users to execute hospitality application task requests with a first
hospitality entity from said wireless handheld computers associated with their
respective users, and further enabled to automatically choose and execute with
alternate hospitality entities when inventory is learned to be unavailable at a first
hospitality entity and then improve efficiency by applying rule based intelligence



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       to not attempt again such a request with the first hospitality entity for a subsequent
       user request, now known by the interconnected web server network as to be
       unavailable to enable the web server network to use less computer resources and
       less computing time through the avoidance of attempting communications modes
       of contact to hospitality entities known in advance to fail to meet the subsequent
       user requests.

Exhibit A at 21:41-22:42, 43:4-67.

       26.    Claims 1 and 7 of the '587 patent are as follows:

       1. An intelligent backoffice and handheld/mobile distributed computing network
       with varying, multi-modes of contact, and parallel operational capabilities for use
       in completing remotely initiated hospitality tasks in the hospitality market
       comprising:

              a network of distributed and linked backoffice servers that are continuously
       synchronized in real time and which are enabled to be remotely accessed and
       managed by a system administrator via a web based interface;

               one or more hospitality software applications linked with the backoffice
       servers and with handheld/mobile compatible versions available to be remotely
       accessed and used by handheld/mobile equipped users and including two or more
       different handheld/mobile computers with their respective and different mobile
       operating systems;

                a master database comprising multiple linked and continuously
       synchronized in real-time databases throughout the network and with data and
       parameters of the one or more hospitality software applications integrated with the
       said network and with predefined formats, the master database comprising a usable
       file structure dictated prior to execution, thus improving efficiency and reliability,
       wherein the one or more hospitality software applications learn, update, store and
       intelligently apply varying modes of contact with the handheld/mobile equipped
       hospitality users and in accordance with their preferences, if any;

               Middleware/Framework Communications Control Software (MFCCS)
       which enables via its centralized system layer architecture the parallel operations
       capable network     to communicate with said two or more different wireless
       handheld computers, each with different mobile operating systems and with mobile
       compatible versions of the said hospitality application accessible from the back
       office servers;

              at least one external software application program interface (API), which
       enables the full integration of the one or more hospitality software applications via
       the MFCCS and its layer architecture with one or more non-hospitality applications;

              additionally the network is further enabled to automatically contact one or



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more other entities when the remotely initiated hospitality task cannot be completed
with a first entity and to intelligently continue this, until the task is completed;

       additionally the network is further enabled to intelligently apply time
constraints and/or hold times, associated with the hospitality task, when applicable;

       wherein the parallel operations capable network is integrated with the
MFCCS and the backend servers are programmed with instructions executable to
choose and apply varying modes of contact during the same remotely initiated
hospitality task, for and with the handheld/mobile customers and/or
handheld/mobile equipped entity staff, to intelligently execute and support
completion of the hospitality application task requests.

7. An intelligent backoffice and handheld/mobile distributed computing
network with varying, multi-modes of contact, and parallel operational capabilities
for use in completing remotely initiated hospitality tasks in the hospitality market
comprising:

       a network of distributed and linked backoffice servers that are continuously
synchronized in real time and which are enabled to be remotely accessed and
managed by a system administrator via a web based interface;

        one or more hospitality software applications linked with the backoffice
servers and with handheld/mobile compatible versions available to be remotely
accessed and used by handheld/mobile equipped users and including two or more
different handheld/mobile computers with their respective and different mobile
operating systems;

         a master database comprising multiple linked             and continuously
synchronized in realtime databases throughout the network and with data and
parameters of the one or more hospitality software applications integrated with the
said network and with predefined formats. the master database comprising a usable
file structure dictated prior to execution, thus improving efficiency and reliability,
wherein the one or more hospitality software applications learn, update, store and
intelligently apply varying modes of contact with the handheld/mobile equipped
hospitality users and in accordance with their preferences, if any;

        Middleware/Framework Communications Control Software (MFCCS)
which enables via its centralized system layer architecture the network     to
communicate with said two or more different wireless handheld computers, each
with different mobile operating systems and with mobile compatible versions of
the said hospitality application accessible from the backoffice servers;

       at least one external software application program interface (API), which
enables the full integration of the one or more hospitality software applications via
the MFCCS and its layer architecture with one or more non-hospitality applications;

       additionally, the network is further enabled to automatically communicate


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       alerts to the handheld/mobile equipped management staff when corresponding
       criteria are met;

               wherein the network is integrated with the MFCCS and the backend servers
       are programmed with instructions executable to choose and apply varying modes
       of contact during the same remotely initiated hospitality task, for and with the
       handheld/mobile customers and/or handheld/mobile equipped entity staff, to
       intelligently execute and support completion of the hospitality application task
       requests.

Ex. B at 21:44-22:33, 22:53-54:8.

       27.       A person of ordinary skill in the art ("POSITA") at the time of the inventions of the

Network Patents would be:

       someone with a bachelor's degree in computer science, industrial engineering,
       operations research, or related field, and either (1) two or more years of relevant
       industry experience for hospitality applications and/or (2) an advanced degree in
       computer science, industrial engineering, operations research, or related field. This
       description is approximate, and more work experience could compensate for less
       education or more education could compensate for less work experience.

Ex. C at ¶ 16.

       28.       "The purpose of claim construction is to give claim terms the meaning understood

by a person of ordinary skill in the art at the time of the invention." Mass. Inst. of Tech. v. Shire

Pharms., Inc., 839 F.3d 1111, 1118 (Fed. Cir. 2016).

       29.       Ameranth hereby proposes and officially adopts the below claim constructions, all

of which are viewed through the eyes of a POSITA, as defined above. The claim constructions

applicable to some or all of the claims of both the '415 and '587 patents are presented first and two

additional claim constructions unique to the '587 patent are presented second; the same terms

appearing in both patents are to have the same meanings and same constructions:

    Claim Terms/Phrase               '415 Patent                  Proposed Construction with
                                     Claim Nos.                      Supporting Evidence
 "web server computer"                   all            any machine capable of running or executing
                                                        server software that uses HTTP to serve up
                                                        HTML documents and any associated files and



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  Claim Terms/Phrase          '415 Patent                  Proposed Construction with
                              Claim Nos.                       Supporting Evidence
                                                 scripts when requested by a client, such as a Web
                                                 browser

                                                 Evidence: Microsoft Computer Dictionary (5th
                                                 ed. 2002) at p. 260); Exhibit C at ¶ 38;
                                                 https://www.pcmag.com/encyclopedia/term/web
                                                 -server (last accessed Dec. 20, 2023); '415 patent
                                                 at 17:40-42

"said     web        server      all             an improved and intelligent web server computer
computer"                                        with     multi-modes     of      contact, multi-
                                                 communications protocols, multi-user and
                                                 parallel operational capabilities

                                                 Evidence: Preamble of claim 1; Exhibit D at pp.
                                                 9-12

                                                 This is an ordered combination defined and
                                                 limited by the anteceding and limiting, first
                                                 element of the claim preamble and with all terms
                                                 non- conventionally arranged and integrated to
                                                 improve the web server computer

"multi"                          all             two or more

"modes of contact"               all             communication options including e.g. telephone
                                                 calls, web pages, emails, pages, facsimiles,
                                                 instant messages, and text messages

                                                 Evidence: '415 patent at Figure 10, 14:44-56,
                                                 15:25-16-9, 15:52-55, 16:27-36, 17:38-51, 17:59-
                                                 62; Exhibit D at pp. 9-12

"parallel       operational      all             parallel processing of related operational
capabilities"                                    parameters to improve the performance of the
                                                 web server

                                                 Evidence: Microsoft Computer Dictionary (5th
                                                 ed. 2002) at p. 391; '415 patent at 16:8-21, 17:38-
                                                 51, 17:59-18:6, 18:32-35; Exhibit D at p. 9

"related        operational                      a set of operational criteria or rules related to the
parameters"                                      modes of contact and associated with the
                                                 hospitality entities and for remote hospitality
                                                 users, such as e.g. periods of time,, alternate



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  Claim Terms/Phrase       '415 Patent                  Proposed Construction with
                           Claim Nos.                       Supporting Evidence
                                              modes, multi-thread communications, restaurant
                                              inventory/menu options that are set aside for one
                                              or more particular purposes, location, type and/or
                                              price range

                                              Evidence: '415 patent at 13:61-66, 13:65-14:5,
                                              15:52-55, 17:38-51, 15:66-16:2, 16:55-17:15,
                                              18:14-21, 32-35; Exhibit D at pp. 2, 10

"along with their prior       all             a set of corresponding operational criteria such as
preferences"                                  e.g. their order history, one or more orders of
                                              restaurants as to user ranking, and/or most
                                              desirable, in accordance with previously
                                              established (e.g. stored) user unique lists, via
                                              database lookups, with matches to search criteria,
                                              with only one, multiple or all of selected
                                              entities/preferences

                                              Evidence: '415 patent 14:10-28, 15:66-16:2,
                                              16:55-17-15, 18:14-21; Exhibit D at p. 10

"intelligence"                all             the ability of a program to monitor its
                                              environment and initiate appropriate actions to
                                              achieve a desired state. For example, a program
                                              waiting for data to be read from disk might switch
                                              to another task in the meantime

                                              Evidence: '415 patent at 10:51-55, 15:62-16:7,
                                              16:13-21, 16:41-43, 16:64-17:7; Microsoft
                                              Computer Dictionary (5th ed. 2002) at p. 278,
                                              Def. 2


"learning and rule based      all             applying intelligence to include concurrently with
intelligence"                                 pre-established and/or developed rules, e.g.
                                              applying or not applying a mode of contact,
                                              dependent on related operational parameters
                                              and/or prior preferences

                                              Evidence: '415 patent at 10:51-55, 15:62-16:7,
                                              16:13-21, 16:41-43, 16:64-17:7, 17:9-19, 17:42-
                                              51; Microsoft Computer Dictionary (5th ed.
                                              2002) at p. 278, Def. 2




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  Claim Terms/Phrase        '415 Patent                   Proposed Construction with
                            Claim Nos.                       Supporting Evidence
"network      of     said      9-20            a network of interconnected, intelligent and
interconnected web server                      improved web server computers with multi
computers"                                     modes of contact, multi communications
                                               protocols, multi user and parallel operational
                                               capabilities

                                               '415 patent at 14:58-63, 18:22-30, 18:48-60,
                                               Figure 10; see also definitions for
                                               "interconnected," "storage area network," and
                                               "system area network" in Microsoft Computer
                                               Dictionary (5th ed. 2002) at pp. 278, 498, 499

                                               This is an intelligent ordered combination defined
                                               and limited by the anteceding and limiting, first
                                               element of the claim preamble and with all terms
                                               non-conventionally arranged and integrated to
                                               improve the web server computer and the overall
                                               network.



  Claim Terms/Phrase        '587 Patent                   Proposed Construction with
                            Claim Nos.                       Supporting Evidence
"a network of distributed       all            an intelligent back office and handheld/mobile
and linked backoffice                          distributed computing network with varying,
servers"                                       multi modes of contact, and parallel operational
                                               capabilities, and which is continuously
                                               synchronized along with its master database in
                                               real time

                                               Evidence: Preamble of claims 1 and 7, first
                                               element of claims 1 and 7; '587 patent at 14:57-
                                               63, 18:23-31, 18:49-61, Figure 10 and as is
                                               further defined in/by the sub/related definitions
                                               above as to the '415 patent and including these
                                               below too

                                               This is an intelligent ordered combination defined
                                               and limited by the anteceding and limiting, first
                                               element of the claim preamble and with all terms
                                               non- conventionally arranged and integrated to
                                               improve the overall network.




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    Claim Terms/Phrase              '587 Patent                   Proposed Construction with
                                    Claim Nos.                       Supporting Evidence
 "distributed     computing             all            a network in which processing, storage, and other
 network"                                              functions are handled by separate units (nodes)
                                                       rather than by a single main computer

                                                       Evidence: '587 patent at 14:57-63, 18:23-31,
                                                       18:49-61, Figure 10;        Microsoft Computer
                                                       Dictionary (5th ed. 2002) a p. 168


                                 AMERANTH BACKGROUND

       30.      Inventor and current President Keith McNally founded Ameranth in 1996 to

develop and provide innovative wireless, real-time communications technology and associated

computer software and hardware systems that would enhance the efficiency of hospitality-focused

enterprises such as hotels, restaurants, entertainment and event ticketing venues and similar

establishments. Ameranth successfully developed and deployed its products/systems to many

thousands of locations, including several of the world's largest restaurant and hotel chains, won

more than ten important technology awards for its technology and has licensed its patents to more

than 47 different companies.

       31.      Ameranth's inventions and development of these systems has already resulted in

the issuance by the USPTO of ten patents: 6,384,850 (the "'850 patent) (issued 2002), 6,871,325

(the "'325 patent") (issued 2005), 6,982,733 (the "'733 patent") (issued 2006), 8,146,077 (the "'077

patent") (issued 2012), 9,009,060 (the "'060 patent) (issued 2015), 9,747,651 (the "'651 patent")

(issued 2017), 10,970, 797 (the "'797 patent) (issued 2021), the '130 patent (issued 2022), the '415

patent (issued 2023), and the '587 patent (issued 2023). Further, one additional patent application

is pending in this patent family, with this additional patent expected to issue later in 2024.

       32.      The 2023-issued Network Patents are directed to Ameranth's new parallel-

operational-capable, web server network and distributed computing-based patent family, based



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upon the new and expanded teachings disclosed in the July 26, 2005 patent application, which is

a continuation-in-part of the '077 patent. The claims of the Network Patents are not directed to

formatting and synchronizing a graphical user interface (GUI) with wireless handheld computers,

as is further explained below.

       33.     After the issuance of Alice Corp. Pty. Ltd. v. CLS Bank Int'l, 134 S. Ct. 2347 (2014),

regarding patent-eligibility (35 U.S.C. § 101), many claims of the '850, '325, '733, '077 and '651

patents were found ineligible by the Patent Trial and Appeal Board or district courts, and then

affirmed to be so by the Federal Circuit in three different rulings, Apple, Inc. v. Ameranth, Inc.,

842 F.3d 1229 (2016), Ameranth, Inc. v. Domino's Pizza, LLC, 792 Fed. Appx. 780, 788 (2019);

and Ameranth, Inc. v. Olo Inc., No. 2021-1211, 2021 WL 4699180 (Fed. Cir. Oct. 8, 2021).

       34.     Alice Corp. Pty. Ltd. v. CLS Bank Int'l, 134 S. Ct. 2347 (2014), has been widely

acknowledged to be confusing and difficult to apply, including by twelve judges of the Federal

Circuit and the U.S. Solicitor General.

       35.     On April 5, 2023, in response to U.S. Supreme Court orders inviting the Solicitor

General to express the views of the United States in two cases involving 35 U.S.C. § 101, the U.S.

Solicitor General in conjunction with the Solicitor at the U.S. Patent and Trademark Office again

confirmed the confusion surrounding patent-eligibility and the need for the law to be clarified.

Brief for the United States as Amicus Curiae, Interactive Wearables, LLC v. Polar Electro Oy,

No. 21-1281 (filed Apr. 5, 2023); Brief for the United States as Amicus Curiae, Tropp v. Travel

Sentry, Inc., No. 22-22 (filed Apr. 5, 2023).

       36.     All claims of the Network Patents are materially different from those prior

invalidated claims. While the invalidated claims were directed to graphical user interfaces and/or

synchronizing displays, the claims of the Network Patents are clearly directed to the improved,




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networked and intelligent web server computer as well as to intelligent and distributed computing

networks. The Network Patents' claims are explicitly directed to improving the claimed, backend

web server computer, with multiple new and non-conventional inventive concepts, and with the

technical improvements and the "how" specifically included and in several instances stated as so

within the claims themselves – and supported by and resulting from the extensive new inventive

teachings and new material disclosed in the July 26, 2005 continuation-in-part application and

Figure 10. The issuance of the Network Patents' claims are the second and third of Ameranth's

new parallel-operational-capable, web server computer-based network and master distributed

database/computing-based patent family but include further inventive concepts and specific

technological features.

       37.     Further as is discussed and confirmed in detail below, DDI and its inventors copied

many of the 2005 inventive concepts of the Network Patents into newly issued patents (claimed

for and issued to DDI in 2023) while concurrently claiming those copied innovations and

advancements were new, novel, nonconventional, and improvements to computers despite their

having inventive priority dates more than 15 years after Ameranth had already invented and

deployed them in 2005. Thus these are all admissions that Ameranth's 2005-based innovations

were and are (i) not abstract, (ii) nonconventional, and (iii) improvements to computers and

networks.

                              TECHNOLOGY BACKGROUND

     a. Technological Problems in 2005

       38.     Ameranth incorporates in its entirety the Declaration of Keith R. McNally

Regarding: U.S. Patents: 11,842,415 and 11,847,547 ("McNally Decl."), attached hereto as Exhibit

E, into the pleadings here.




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        39.        As explained by Mr. McNally, the inventor and a person of ordinary skill in the art,

in early 2005, Ameranth was presented with two new, strategic opportunities, one from Holiday

Inn Hotels of Intercontinental Hotels Group (IHG) (the world's largest hotel company) and the

other from Zagat Survey LLC (the world's largest restaurant rating/ranking company). These

enterprise level opportunities presented new and unprecedented technological challenges to

Ameranth in 2005. Ameranth recognized they needed that which was non-conventional and which

did not exist at the time—a full, intelligent, enterprise level, web server computer-based back end

solution/service with parallel operational capabilities and multi modes of contact. That these

technology improvements were new, nonconventional, and did not exist prior to 2005 is evidenced

and confirmed by the sworn statement of Mr. McNally and the fact that IHG and Zagat

management sought Ameranth to develop what clearly did not then exist in 2005; had the

technology existed, these industry giants would have simply used it, yet they retained Ameranth

to develop it. .

        40.        Ameranth's eHost platform deployed for Holiday Inn incorporated key aspects of

the inventions claimed in the '415 and '587 patents. McNally Decl. at ¶¶ 14-17.

        41.        Several of the features claimed in the Network Patents were also incorporated into

Ameranth's Magellan Restaurant Reservations System in November 2005. McNally Decl. at

¶¶ 18-19.

        42.        Mr. McNally invented a new, unique and ordered combination of technologies that

improved web server computers, including an internet-based web server/cloud-based

datacenter/hosted system with distributed computing, and the new and non-conventional multi-

modes of contact and parallel operational capabilities' functionality, and its layered architecture

and with distributed but linked databases, yet operating together as a master database and which




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learns, was intelligent and chooses/acts/decides intelligently. This ordered-combination-based

invention improving web server computers is what is claimed in the Network Patents. As is

confirmed in his declaration, the Network Patent's new multi-modes of contact to/with either or

both wireless handheld equipped consumers/customers and with the restaurants/hotels, solves

technological problems by providing resiliency, flexibility and reliability, and its internal and

external API's accommodate and integrate with current and future hospitality and non-hospitality

external systems.

       43.       With national scale, hosted, web server computer-based deployments and the

requirements for extreme reliability, the 24x7x365 availability of the system across thousands of

locations, and enabled for multiple and linked web server data centers to prevent the system from

going down due to a power outage or other such failure mode, consequently, the distributed

computing and claimed master database while acting intelligently approaches with the layered

Middleware/Framework Communications Control Software (MFCCS) architecture and

framework as is shown in Figure 10 of the Network Patents and with seamless interconnectivity

was essential.

       44.       Because speed/time to market was also a high priority, Ameranth was also

challenged to develop interim solutions if required—while deferring, when/if appropriate to later

versions—any integrations or special features not essential for the initial, primary operational

features/objectives. This required planning and integrating the layered architecture shown in

Figure 10 of the Network Patents and external API into the MFCCS system framework/design to

provide for continual growth and considerations into the overall system framework/architecture.

At the time of the inventions claimed in the Network Patents, no such integrated system or system

of systems existed.




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       45.     The claimed inventions of the Network Patents and their new technical and

intelligent solutions preceded what later and more currently have become known as e.g. machine

learning and/or a microservices-based architectural approach. McNally Decl. at ¶¶ 13, 25-26.

       46.     After conceiving the advances, innovations and new, web server based architecture

that powered and enabled these new systemic solutions in late 2004 into early 2005, Mr. McNally

filed a continuation-in-part patent application on July 26, 2005, providing extensive new

teachings/guidance to persons of skill in the art to expand upon the earlier teachings/disclosures of

his original patent specification, filed on September 21, 1999. The teachings were and are targeted

to teach new advancements on the back end and architectural side of the systems.                This

continuation-in-part application is the parent to the Network Patents.

       47.     Mr. McNally added text about some additional functionality at the end of the prior

Abstract, emphasizing the importance of new enhancements supporting the multiple modes of

contact enhancements, he modified the primary prior systemic architecture Figure 9 into Figure

10, and he added a short addition to the prior specification (see '415 patent at 5-9; '587 patent at

13: 5-9), but then focused on the extensive new 2005 systemic and architectural innovations

disclosed in the '415 patent at 13:34 to 18:60; '587 patent at 13:34 to 18:61.

       48.     The advantages of and extensive new teaching/explaining in columns 13-18 of the

'415 and 587 specifications via non-software language specific examples evidence the multiple

modes of contact advancement/concept, because a person of ordinary skill in the art can follow the

example based specification teachings and then at the appropriate time and in the appropriate

programming language as of that date or any date program/code this functionality in the software

language then preferred and used. This enhancement of the multi-modes of contact improved the

web server functionality as part of the overall framework design and was/is essential to achieving




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the system reliability and autonomous enterprise level functionality, as was required for both the

eHost and Magellan systems. Without such functionality combined with the learning/intelligence

of the system, the first instance of a communication failing and/or being unanswered would

immediately end that communication flow and prevent that hospitality task from being timely

completed, thus degrading the system and its reliability and reducing merchant/customer

satisfaction. Further, once the system learns that e.g. a particular contact mode is ineffective, it can

then avoid even trying that and thus eliminate that wasted computer resource and increase the

system's efficiency. This new learning and intelligence functionality and its application as in the

Network Patents' claims was new, non-conventional and improved the efficiency of prior web

servers and the overall connected network by eliminating computer resources previously wasted

on actions (that were not required toward the claimed requirement of completing the hospitality

tasks as in the Network Patent's claims) and by eliminating these wasted actions, less computing

resources were required; thus improving CPU processing and efficiency. Of special importance

to the multiple modes of contact were included in the Network Patents' claimed invention, in late

2004, that integrating text and chat into actual deployed/operational systems would offer technical

and operational benefits. This was a new and important innovation since at this time, texting (while

loved by teenagers) was scorned by most adults, but its limited use was a stand-alone function, not

actually integrated directly into an operational system and the execution and completion of

hospitality tasks. Mr. McNally was the first to recognize this and actually teach the ability to

integrate texting/chatting functionality into deployed and operational hospitality task based

systems and make them, optionally a part of the completion of those tasks when/where appropriate,

as evidenced by the disclosure and claims of the Network Patents patent. McNally Decl. at ¶¶ 24-

25, 27.




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       49.     As Mr. McNally further and first recognized, and which is specifically taught in the

continuation-in-part additions of and claimed in the Network Patents to achieve and teach the

overall systemic enhancements to prior web server computer-based systems while providing a

totally integrated, hosted, ordered combination systemic solution and one capable of interfacing

with wireless handheld computers and via multiple modes of contact, along with the framework

and layered approach of Figure 10 of the Network Patents, the claims and teachings of the Network

Patents guide/teach a person of skill in the art to pursue/architect a distributed computing,

distributed-but linked database system, which mirrors and teaches the new systemic framework

approach, as a new and ordered combination which now, many years later is often now deemed as

a microservices-based approach. '415 patent at 14:57-63, 16:64-17:2, 18:24-30, 18:32-55, Fig. 10;

'587 patent at 14:57-63, 16:65-17:3, 18:25-31, 18:33-36, Fig. 10.

       50.     As explained in Mr. McNally's declaration:

       23. In order to best teach/explain these new innovations and enhancements to prior
            web server based systems to persons of skill in the art, such as myself, I
            decided to adopt and apply a 'pseudo code', and 'by way of example' teaching
            approach - relying on a 'three way' example baseline/approach, of the
            interactivity between the 'computer', i.e. the improved back office/web servers
            and with the 'the users', 'the entities' and their bi-directionally 'back and forth'
            actions/communications, describing and teaching the new enhancements via
            45 examples and which was/is clearly explained to a POSA below.

             I chose a reservations embodiment, to illustrate the new innovations, however
             the new inventive concepts apply to all hospitality embodiments.

             'Such functionality may be implemented in a number of ways. So as to
             illustrate by way of example, employing such functionality in the making of
             appointments and/or reservations will be discussed.' '415 patent, Col 13, lns
             41-434-47; '587 patent, Col. 13, lns 44-47.)

             This 'examples' teaching approach, (including the pseudo code instructions
             where appropriate) was the best teaching approach of the how, since with ever
             changing software languages, and the likelihood that multiple/different
             languages would be used, on/with different elements of the overall integrated
             framework/system and even with varying databases types and interfaces, this
             was the optimal approach. Providing source code in a single/particular


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             programming language that would likely soon be obsoleted, would not have
             stood the test of time, nor offered a viable technical teaching, whereas
             providing pseudo code guidance and 'examples' which are independent of a
             special/unique software language optimized the teachings for a person of skill
             in the art, and ensured broad teaching applicability.

McNally Decl. at ¶ 23.

       51.      The advantages of the pseudo code approach are further and independently

confirmed in Exhibit 7 to the McNally Decl.:

       Developing computer programs, especially ones as large and complex as operating
       systems or corporate data systems, is a difficult job. There are many opportunities
       for developers to make mistakes, create unintentional complexity, or simply lose
       their way. Pseudocode is an incredibly useful tool in the developer's toolbox,
       helping her avoid many of the pitfalls that plague such a complex undertaking.

       Pseudocode is plain text and therefore easy to understand. Because it does not
       require the rigid structures and syntax of a programming language, it does not
       require a special editing environment. Pseudocode can also be understood by
       nonprogrammers, allowing developers to bring experts with no computer
       knowledge into the creative loop, benefiting from their input and allowing the
       developer to create software that is even more useful for their clients.

       Because pseudocode is not itself an actual programming language, it can be used
       with almost any available programming language. This is a great boon to
       developers, who often have the ability to use a variety of languages.

       52.      A distributed database is a database that is distributed across multiple computers

and devices in a network. Such an architecture can provide tremendous benefits for users. As

would be well-known to a POSITA prior to 2005 and prior to the new and non-conventional

Network Patents' claimed inventions, however, there were significant challenges for system

designers to be able to successfully implement such a distributed database. For example, a major

challenge is that of achieving the design goals of consistency, availability, and partition-tolerance:

       •     Consistency. Consistency means that all devices on the network see the same data at

             the same time. For this to happen, whenever data is written to one node, it must be

             immediately forwarded and replicated to all the other nodes in the system before the



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             write is deemed successful.

       •     Availability. Availability means that that any device making a request for data gets a

             response, even if one or more other nodes are down. Another way to state this is that

             all working nodes in the distributed system return a valid response for any request.

       •     Partition-tolerance. A partition is a communications break within a distributed

             system, such as a delayed or disconnected link between nodes, that disconnects one or

             more nodes from other nodes in the network. Partition-tolerance means that a cluster

             of nodes must continue to work despite any communication breakdowns between nodes

             in the system.

     b. The Network Patents' Claimed Inventions Solved These Technological Problems
        With Technical Solutions And Improvements

       53.      These 2005 operational challenges required an entirely new systemic technical

approach/solution including parallel operational capabilities and one which operated as an ordered

combination of technical advancements to create an intelligent and integrated internet enabled

system that met all of these requirements and more, while designed for growth/expansion as well.

As claimed and disclosed in the Network Patents, a MFCCS-based layered framework/architecture

upon which the pieces of the system would be integrated together was needed.

       54.      The inventions claimed in the Network Patents are vastly different from the claimed

inventions in Ameranth's earliest patents. Unlike the claims in Ameranth's earliest patents, the

claims of the Network Patents provided improved technical solutions for web server computers

and distributed database systems and networks with parallel operational capabilities.

       55.      On their face, a POSITA would understand that the claims of the Network Patents

are vastly different and directed to an entirely different concept and technological problem from

the earlier patent claims invalidated in Apple, Domino's, and Olo. Exhibit F shows a representative



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claim from each of those cases, claim 9 of the '415 patent, and claim 7 of the '587 patent. Unlike

the invalidated claims, the claims in the Network Patents are for and improve intelligent web server

computers and computer networks and include specific details for implementing and improving

the web server computers and networks, which result in a technological improvement to a network

of distributed computing systems, including parallel operational capability, because the claimed

web server and network is able to achieve improvements in consistency, availability, and partition

tolerance.

       56.       The preambles of the asserted claims are limiting. For example, claim 1 of the '415

patent includes a preamble that is limiting and that defines the "said web server computer" to which

it is directed as "an improved and intelligent web server computer with multi-modes of contact,

multi-communications protocols, multi-user and parallel operational capabilities for use in a

hospitality market."

       57.       The asserted claims of the '415 and '587 patents recite an ordered combination and

includes each of the following elements:

             •   a web server with multi-modes of contact, multi-communications protocols, multi-
                 user and parallel operational capabilities;
             •   at least one hospitality food/drink ordering software application
             •   an advanced master database, with its own database API;
             •   Middleware/Framework Communications Control Software (MFCCS), which
                 enables at least one web server to communicate with at least two remote handheld
                 computers and for multiple modes of contact and multiple communications
                 protocols; and
             •   at least one external software API, which integrates the hospitality software
                 application and the MFCCS with the Internet and leverages the advanced master
                 database to support learning, updating, and storing multiple communication modes
                 of contact and related operational parameters.

This combination of the above-listed elements in the 'Network Patents overcomes the challenge of

simultaneously achieving consistency, availability, and partition-tolerance for a distributed

database by changing the preconditions inherent in the environment for which these goals were


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typically articulated. For instance, rather than accepting the underlying assumption that there is

only a single type of network and network protocol for connecting the devices in a distributed

database design, the Network Patents introduce an approach utilizing multi-modes of contact,

multi-communication protocols, and parallel operational capabilities for its system, and combines

this with the above-listed elements. Accordingly, the Network Patents claim an invention that can

effectively achieve consistency and availability, as well as partition-tolerance, for example, such

that when a communication link is down in one communication modality or protocol, the system

can then utilize another communication modality or protocol that is not down. This combination

of elements of claim 1 in each patent is supported in the specification, e.g., in embodiments

disclosed at Fig. 10 and at 16:28-43, 18:61-19:3 of the '415 patent and 16:28-43, 18:62-19:4 of the

‘587 patent, for instance, which teach multi-modes of communication (e.g., instant messaging, text

messaging, email, web pages, pages, facsimiles, text to voice, voice to text, and/or touch tone

recognition) message, mobile app message, ethernet, paging (e.g., 27MHz/318MHz), Wi-Fi

(802.11), and web links), multiple communications protocols (e.g., HTTP, 802.11, Paging,

Ethernet, and WAN Wireless protocols), and parallel operational capabilities, together with a

MFCCS, linked databases, servers, and handheld devices.

       58.     It cannot be reasonably argued that the asserted claims do not claim improvements

to the claimed web server computers and networks, such as "improving efficiency and reliability"

and/or enabling the web server computer "to further improve its efficiency by using less computer

resources and less computing time through the avoidance of attempting communication modes of

contact to hospitality entities and/or users and/or for subsequent user hospitality application task

requests likely to fail during the operational period of time if attempted again during that time."

This eliminating the necessity of continually querying or checking a mode of communication to




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 be improving the functionality of computers in that its system effectively achieves consistency and

 availability for real-time searching in a distributed database. That is, it effectively achieves

 consistency, since one node in the system does not need to check or continually check another

 node in the system to know that its data is consistent with the data of the other node. Similarly,

 this limitation effectively achieves availability, since it implies that there is no need to continually

 be checking if another node is available or not. Moreover, the claimed inventions effectively

 provide partition-tolerance through their multi-modes of contact, multi-communications protocols,

 multi-user and parallel operational capabilities, whereby a partition in one mode of communication

 (such as the Internet) can be overcome by communicating over another modality (such as text

 messaging)..

         59.     The Network Patents disclose how the claimed inventions achieve web server

 improvements in both consistency and availability:

         According to various embodiments of the present invention, messaging (e.g.,
         wireless text messaging and/or wireless instant messaging) and/or text-to-voice
         functionality may be employed, for instance, in appointment, waitlist, and/or
         reservation operations. Such functionality might, in various embodiments, involve
         messaging (e.g., wireless messaging), text-to-voice, and/or two-way interactivity,
         and/or may involve communication via landline telephones, cellular telephones,
         and/or wireless devices.

'415 patent at 13:34-43; '587 patent at 13:44-52.

         60.     The claimed multi-modal communication is also taught as being performed in

 parallel with other operations:

         A computer operating to communicate with the entity as discussed herein might,
         for example, be dedicated to performing such operations. As another example, such
         a computer might be one performing other tasks (e.g., acting as a web server). It is
         noted that, in various embodiments, one or more rules may be followed in
         communicating with the entity and/or the user.

 '415 patent at 17:38-44; '587 patent at 17:39-45. Thus, the above passage expressly ties the

 consistency and availability achieved in the claimed inventions of the Network Patents to their


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multi-modes of communication and provide partition-tolerance.

       61.     The Network Patents and their learning/intelligence further disclose the benefits

and functionality of its claimed multi-modal communication approach as follows:

       A communications control program monitors and routes all communications to the
       appropriate devices. It continuously monitors the wireless network access point
       and all other devices connected to the network such as pagers, remote devices,
       internet Web links and POS software. Any message received is decoded by the
       software, and then routed to the appropriate device. No user action is needed during
       operation of the software once the application has been launched.

'415 patent at 10:51-59 (emphasis added); '587 patent at 10:51-59 (emphasis added).

       62.     The Network Patents' claimed combinations provided computer improvements and

were not routine or conventional in 2005, This was further confirmed by the patent examiner in

the Notice of Allowances issued at the USPTO:




Exhibits G – H.

       63.     Claim 1 of the '415 patent also has the following limitation and ordered combination

which provides an additional, nonconventional inventive concept:

       Middleware/Framework Communications Control Software (MFCCS) which
       enables via its centralized system layer architecture the at least one said web
       server computer to communicate with two or more remote wireless handheld
       computers and for multiple modes of contact, multiple communications protocol
       functionality, integrated with the master database and with the at least one
       hospitality food/drink ordering software application;

This limitation (the "middleware/framework" limitation), including the centralized system layer

architecture, recites further technological improvements to computers, improves the web server

computer, and is not reciting a routine or conventional element.                    The claimed

middleware/framework architecture for a food/drink ordering distributed system for the hospitality

industry would speed up and simplify the development, testing, deployment, and performance of



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the hospitality applications that are built on top of it. By providing a centralized system layer

architecture, multi-modes of contact and multiple communications protocol functionality, which

are integrated with the master database and with the at least one hospitality food/drink ordering

software application, the "middleware/framework" limitation recites technological improvements

to web server computers for food/drink ordering applications in the hospitality industry.

       64.     The MFCCS, inclusive of the added "framework" term and its centralized layered

architecture, of Figure 10 is a specific technical solution and inventive concept that improves the

prior web server computers and is specifically claimed and incorporated into the Network Patents'

claims as evidenced in the prosecution history.

       65.     Further still, the importance of the centralized layered architecture from the

MFCCS framework/platform and which resulted in the eHost system developed by

Ameranth to overcome the limitations of web server computers in 2005 was confirmed by

Intercontinental Hotels Group: "It's this platform that allows eHost to function as a single

seamless system, despite actually being made up of thousands of individual, customized web

portals (one per hotel location)." McNally Decl. at Ex. 3.

       66.     Middleware will impact many parts of an application system built atop it and can

be a make-or-break factor for the success of such systems, so great care should be undertaken in

their design. Developing a middleware/framework therefore requires the development of a

comprehensive     design/framework,     which     provides   the   layer   architecture     for   the

middleware/framework and describes its functionality, and the Network Patents provide such a

design for a non-routine and unconventional middleware/framework for the hospitality industry.

       67.     As stated above, the teachings of Figure 10 were non-conventional, and an

inventive concept specifically incorporated into the Network Patents' claims, and with the "how"




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shown to a POSITA in the claims themselves and via the figure/architecture itself.

       68.     Figure 10 and accompanying disclosures in the specification of the '415 and '587

patents disclose a system diagram, framework and design description for the claimed

middleware/framework for distributed food/drink ordering applications in the hospitality industry.

See, e.g., '415 patent at Fig. 10, 3:55-64, 14:43-63, 15:27-43, 15:45-49; '587 patent at Fig. 10, 3:52-

61, 14:43-63, 15:27-43, 15:45-49; '415 patent at 16:44-64, 16:64-17:7; '587 patent at 16:45-61;

16:65-17:8. These disclosures describe multiple communication modes, multiple communications

protocols and distributed computing components (including a server and multiple clients). These

disclosures are new inventive concepts and are for a non-routine and unconventional

middleware/framework for distributed food/drink ordering applications in the hospitality industry.

     c. A Person of Ordinary Skill in the Art, Dr. Goodrich, Recognized Technological
        Improvements of the Network Patents' Claimed Inventions and Confirmed Their
        Non-Conventionality in 2005

       69.     Ameranth incorporates in its entirety the Declaration of Michael T. Goodrich, Ph.D.

Regarding U.S. Patent Nos 11,842,415 and 11,847,587 ("Goodrich Decl.), attached hereto as

Exhibit C, into the pleadings here.

       70.     The "web server" of claim 1 of the Network Patents, and as it is defined in the

preamble of the claims, was non-conventional in 2005, and is improved and specialized to employ

technical improvements, including multi-modes of contact, multi-communications protocols,

multi-user, and parallel operational capabilities. Goodrich Decl. at ¶¶ 33-51.

       71.     As confirmed by Dr. Goodrich,

       a POSITA would also find ample support for the claimed web server being "[a]n
       intelligent web server computer" integrated with "an advanced master database"
       with an "application program interface (API)" that "intelligently learns, updates,
       and stores multiple communication modes of contact and related operational
       parameters for hospitality entities and for remote hospitality users along with their
       prior attributes or preferences, if any and then intelligently applies them," as well
       as at least one said web server being "programmed with instructions enabled to


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       intelligently choose and apply multiple and different modes of contact and/or
       different communication protocols."

Goodrich Decl. at ¶ 35.

       72.       "[A] POSITA would understand that these [i.e., the following non-routine and

unconventional combination of' claimed] components work together as disclosed in the

specification" of the Network Patents:

        A POSITA would understand that the claims of the '415 and '587 Patents recite
        non-routine and unconventional combinations of the following elements:

             •   a web server with multi-modes of contact, multi-communications protocols,
                 multi-user and parallel operational capabilities;

             •   at least one hospitality food/drink ordering software application

             •   an advanced master database, with its own database API;

             •   Middleware/Framework Communications Control Software (MFCCS),
                 which enables at least one web server to communicate with at least two
                 remote handheld computers and for multiple modes of contact and multiple
                 communications protocols; and

             •   at least one external software API, which integrates the hospitality software
                 application and the MFCCS with the Internet and leverages the advanced
                 master database to support learning, updating, and storing multiple
                 communication modes of contact and related operational parameters.

Id. at ¶¶ 81-82.

       73.       A person of ordinary skill in the art would understand the Network Patents' claimed

combination of elements provides for the improvement in the functionality of computers and/or

networks, such as "improving efficiency and reliability" and/or enabling the web server computer

"to further improve its efficiency by using less computer resources and less computing time

through the avoidance of attempting communication modes of contact to hospitality entities and/or

users and/or for subsequent user hospitality application task requests likely to fail during the

operational period of time if attempted again during that time."       Therefore, a POSITA would



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recognize that the claimed web server and network improve the functionality of computers and/or

computer networks for applications in the hospitality industry, which used a single mode of

communication, with a system that utilizes multi-modes of communication and thereby overcomes

the limitations of the CAP Theorem challenge. See Goodrich Decl. at ¶¶ 55-65.

       74.     A person of ordinary skill in the art also would understand the claim elements

include explaining "how" to achieve these improvements (e.g., automatically choose and execute

alternate communication modes of contact and/or alternate communications protocols if needed

and appropriate at the time of execution"). A person of ordinary skill in the art would understand

this eliminating the necessity of continually querying or checking a mode of communication to be

improving the functionality of computers in that its system effectively achieves consistency and

availability for real-time searching in a distributed database. That is, it effectively achieves

consistency, since one node in the system does not need to check or continually check another

node in the system to know that its data is consistent with the data of the other node. Similarly,

this limitation effectively achieves availability, since it implies that there is no need to continually

be checking if another node is available or not. Moreover, a person of ordinary skill in the art

would understand that the invention effectively provides partition-tolerance through its multi-

modes of contact, multi-communications protocols, multi-user and parallel operational

capabilities, whereby a partition in one mode of communication (such as the Internet) can be

overcome by communicating over another modality (such as text messaging). Id. at ¶ 84.

        75.     Claim 1 of the '587 patent recites "wherein the parallel operations capable network

is integrated with the MFCCS and the backend servers are programmed with instructions

executable to choose and apply varying modes of contact during the same remotely initiated

hospitality task, for and with the handheld/mobile customers and/or handheld/mobile equipped




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entity staff, to intelligently execute and support completion of the hospitality application task

requests." (emphasis added). This technological limitation is a new inventive concept and was

not a routine or conventional element in 2005. Further, the claim provides structure regarding how

to apply varying modes of contact during the same hospitality task and it also integrates with and

leverages the claimed "parallel operational capabilities" of the claimed network. A POSITA would

therefore understand that this provides, along with the supportive teachings in the specification, as

is explained further herein, the "how" and specific programming guidance, e.g., through

"instructions executable to choose and apply varying modes of contact during the same remotely

initiated hospitality task." This switching or varying of modes of contact, which occurs during the

same hospitality tasks, such as, e.g. switching/varying from email to text and/or back, was new

(hence, not routine or conventional). Additionally, dependent claim 12 adds the additional

inventive concept that the switching/varying of the modes occurs automatically and based upon

learning and rule based intelligence. Thus, these are technological improvements which provide

structure to improve the prior computers and also improve the way that prior, conventional

networks operated while concurrently addressing and overcoming the CAP Theorem challenges

via significant technical improvements to overcome the occurrences of network partitions. The

varying between modes of contact, is specifically taught/disclosed in the specification, e.g. '587

patent at 14:47-51 (“As another example, the computer might, alternately or additionally,

determine a messaging address and/or telephone number of the entity (e.g., via database lookup)

and send a message (e.g., of the sort discussed above) in an automated manner to the entity."); see

also, e.g., id. at 14:58-63 (“It is noted that, in various embodiments, in the case where the computer

was not able to successfully reach the entity and/or receive a valid response from the entity, the

computer might keep trying and/or try alternate contact modes.”); id. at 18:23-31 (“Such




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synchronization might for instance, be of the sort discussed herein, (e.g. as shown in Figure 10).

For example, synchronization might occur between one or more computers that operate to

communicate with the user, one or more web servers, one or more web sites, one or more cell

phones (e.g. smart phones) and or PDAs and/or one or more back office servers (central

databases)."). Further, these specific network architectural teachings to a POSITA comprise new

continuation-in-part material teachings, which provide the programming guidance as is clearly

stated in the specification. See, e.g., id. at 18:33-36. (“It is noted that such computers, servers

and/or web sites may for example, employ software programmed to employ one or more of the

operations discussed above.”). Further, these are the specific operations discussed above, because

the inventor defined them as such via the limitations and scope of these claims, and which are

defined within the claims themselves. Thus, it is clear to a POSITA that the inventor identified

prior conventional systems and their problems and taught and claimed technological improvements

to them.

       76.     The inventions of the Network Patents are not tied to a specific computer

programming language. Goodrich Decl. at ¶ 93 ("The specification advantageously teaches and

discloses that its invention is not tied to a specific computer programming language, such as Visual

Basic, SQL, or C++.").

       77.     More specifically,

       98.     Given this disclosure, a POSITA would understand that embodiments can
       be written in any commonly used computer language, such as Visual Basic, C++,
       or SQL. Thus, a POSITA would understand that it is sufficient for the specification
       to describe its algorithms in prose or pseudocode, which is a plain language
       description of the steps in an algorithm, which is written primarily for humans not
       machines. See, e.g., the '415 Patent at 8:35-42, 9:22-50, 10:29-50, 14:22-63, 15:13-
       51, 16:44-17:2, and 17:20-37; '587 Patent at 8:35-42, 9:2-50, 10:29-50, 14:22-63,
       15:13-52, 16:45-17:3, and 17:21-38, for example algorithm descriptions. In fact,
       there are multi-faceted advantages to not limiting an invention to a particular
       software language via the inclusion of language specific, source code in a patent



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        application, and as a repeated inventor myself, with multiple issued patents, I would
        not do so. For example, when it is considered that over the 20-year life of patents,
        computer languages are continually evolving and advancing..

Id. at ¶ 98.

        78.    The Network Patents provide pseudocode for an exemplary algorithm for building

a menu file structure:




Id. at ¶ 102; see also '415 patent at 8:34-41; '587 patents at 8:34-41.

        79.    The '415 and '587 patents specification includes

        numerous examples from the newly added material and repeated references to
        Figure 10 and its framework, which provide the "how" and programming guidance
        to a POSITA, while also identifying specific exemplary technologies and
        embodiments for realizing updating and querying, including a client-server system
        ('415 Patent at 19:13-58 and '587 Patent 19:12-59) utilizing client and server
        devices employing an advanced master database ('415 and '587 Patents at 11:64-
        65), Hypertext Transfer Protocol, HTTP ('415 Patent at 18:61-19:2; '587 Patent at
        18:62-19:3), Hypertext Mark-up Language, HTML (id. at '415 Patent at 19:3-7 and
        '587 Patent at 19:4-8), Extensible Mark-up Language, XML (id. at '415 Patent
        at19:7-13 and '587 Patent at 19:8-14), Structured Query Language, SQL (Id. at
        12:3-6), ActiveX Data Objects, ADO (Id. at 11:7-12:3), graphical user interfaces,
        GUIs (Id. at Figs. 1-8, 6:18-59, 7:16-50-, 11:3-25, 13:61-14:9). In my opinion, a
        POSITA in 2005 would not have considered this suite of technologies to be a set of
        generic components and certainly not in their ordered combination as in the claims,
        (inclusive of the multiple, new 'inventive concepts' as defined above), but rather to
        be specific technologies for realizing an improved and specialized distributed
        client-server system for food/drink ordering applications which is further enhanced
        via the claimed combination of above-cited elements of claim 1.

Goodrich Decl. at ¶ 103.

        80.    Confirming the claims of the Network Patents in view of the specification




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sufficiently disclose "how" the result is achieved, a POSITA would know how to develop source

code "given the clear structure disclosed, e.g., with respect to the above-cited technology and

algorithmic teachings from the specification/figures, as well as the claims themselves." Id. at ¶¶

104-111; see also id. at ¶¶ 91-100.

       81.     "[A] POSITA in 2005 would not have considered this suite of technologies to be a

set of generic components and certainly not in their ordered combination as in the claims,

(inclusive of the multiple, new 'inventive concepts' as defined above), but rather to be specific

technologies for realizing an improved and specialized distributed client-server system for

food/drink ordering applications . . . . Id. at ¶ 103; see also id. at ¶ 39 ("[A] POSITA would

understand that, rather than being only a generic, conventional computer, the improved 'web server'

of claim 1, and as it is defined in the preamble is specialized to employ technical improvements,

including multi-modes of contact, multi-communications protocols, multi-user, and parallel

operational capabilities, which is supported by the specification.").

                                DOORDASH BACKGROUND

       82.     DDI was formed in 2012 by four Stanford students, Evan Charles Moore, Andy

Fang, Stanley Tang and Tony Xu, who is the CEO today. Initially, understandably and admittedly,

like most startups, they had little technology, nor experience nor the vision for the technology

needed for a true, enterprise scale, system as DoorDash has become today. But they did have drive

and vision and through that, they have become the number one food delivery company in the U.S.

and in the world. As explained below, over time, DDI and its engineering team realized that they

needed an integrated web server-based solution, inclusive of the teachings of the Network Patents

and their claims.




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       83.       Below is a snippet of a screenshot from a video posted by DDI and entitled

"DoorDash        Technical      Showcase       Event-      Logistics     Team"        (available   at

https://www.youtube.com/watch?v=Um_s0AUjZd4 (last accessed Dec. 20, 2023):




       84.       The article "Future-proofing: How DoorDash Transitioned from a Code Monolith

to a Microservice Architecture" (available at https://doordash.engineering/2020/12/02/how-

doordash-transitioned-from-a-monolith-to-microservices/ (last accessed Dec. 20, 2023), contains

the following text (bullet points added), reordered for purposes of this complaint:

             •   "DoorDash began its venture into food delivery in 2013. At that time, the
                 mission from an engineering standpoint was to build a fast prototype to
                 gather delivery orders and distribute them to a few businesses through basic
                 communication channels like phone calls and emails. The application
                 would need to accept orders from customers and transmit those orders to
                 restaurants while at the same time engaging Dashers to pick up orders and
                 deliver them to customers."

             •   "Although the monolithic architecture was a valid solution to enable agile
                 development in the early phases, issues started emerging over time. This is
                 a typical scenario in the lifecycle of a monolith that occurs when the
                 application and the team building it cross a certain threshold in the scaling
                 process. DoorDash reached this point in 2017, which was evident by the
                 increasing challenge of building new functionalities and extending the
                 framework.

                 Eventually, the DoorDash application became somewhat brittle. New code
                 sometimes caused unexpected side effects. Making a seemingly innocuous


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                 change could trigger cascading test failures on code paths that were
                 supposed to be unrelated."

             •   "In 2019, DoorDash's engineering organization initiated a process to
                 completely reengineer the platform on which our delivery logistics business
                 is based."

             •   "Originally developed as a monolithic codebase, the company's business
                 growth in 2019 unveiled the weaknesses of our development model,
                 including issues such as growing developer ramp up time, longer waits for
                 test completion, and overall higher developer frustration as well as
                 increased brittleness of the application. After some debate, the company
                 began planning to transition the monolith to a microservice architecture."

             •   "After these phases, a multi-layered microservice architecture emerged:




                                                                                "
       85.       Per the prior paragraph, DDI's technical problems that needed to be solved in the

mid- to late 2010s were solved by DDI's "multi-layered microservice architecture," which is DDI's

version of the MFCCS and layer approach claimed in the Network Patents. Thus, DDI made a

2019 factual admission that the layered framework/architecture of the Network Patents' claims

improved computers and thus was surely not conventional much earlier in 2005. This admission




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is further confirmed by DDI's parallel activities to seek to patent such technology for itself, as is

further detailed below.

       86.            The article "2020 Hindsight: Building Reliability and Innovating at DoorDash"

(available at https://doordash.engineering/2020/12/23/2020-engineering-highlights/ (last accessed

Dec. 20, 2023)), includes the following text (bullet points added):

             •        "Highlights from this year include work on our microservices architecture
                      and migrating business logic, a process begun in 2019, improving our
                      reliability metrics on a platform facilitating millions of deliveries per day.
                      To support the many data-driven aspects of our business, we built new
                      pipelines and found other ways to improve our data infrastructure's speed,
                      reliability, and usability."

             •        "The continued growth of DoorDash's business brought us to the realization
                      in 2019 that we needed to fundamentally re-architect our platform. Our
                      original monolithic codebase was stressed from the need to facilitate
                      millions of deliveries per day, while a growing engineering organization
                      meant hundreds of engineers working to improve it. To support our scale,
                      we began migrating from the original codebase to a microservices
                      architecture, work that continues through 2020, improving reliability and
                      developer velocity."

       87.            After recognizing its own technological problems as discussed above and then

envisioning what was needed to address them, DDI not only initiated technical developments, but

it also sought patent protections for the concepts they believed to be new and non-conventional as

of 2019-2022. DDI has publicly acknowledged its valuing and support of the U.S. patent system,

including        in      its   own     SEC      Form     10-K     Annual      Statement,    available   at

https://d18rn0p25nwr6d.cloudfront.net/CIK-0001792789/628c3275-56ed-4bc8-a246-

20e7c40742ce.pdf, and it now owns over 40 patents, many of which, (including the two patents

further identified below) that include copied and/or complementary technology as to that disclosed

and claimed in the Network Patents' claims. DDI has vigorously argued the patent eligibility of

its own patents, including its copying of many technical aspects of the Network Patents as is

exemplified in Exhibits I and J attached hereto.


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       88.     DDI filed for and was awarded multiple patents for inventive concepts it believed

it was the first to invent and the inventors of the claimed inventions in those patents signed sworn

statements attesting to those beliefs.

       89.     However, DDI and the inventors of DDI's patents were wrong, because Ameranth

had invented many of those concepts long before they did, and DDI's filing for and receiving these

patents are direct admissions that Ameranth's Network Patents' inventive concepts were

improvements to computers and were thus not conventional 16+ years earlier in 2005.

       90.     That the inventive concepts claimed in the Network Patents provide non-abstract,

technical solutions to technical problems that improve computers is further confirmed by DDI

itself by its repeated statements when prosecuting the patents identified below and through the

disclosures, inventors' admissions and statements within those patents themselves, all of which

rely on, in part or in whole, key aspects of the Network Patents' related technology improvements.

       91.     As evidenced in bold text below, each of DDI's following two patents include

various aspects of the inventive concepts of the Network Patents' claims, and include multiple

admissions that these same features improved computers and provided the same platform as

claimed in the Network Patents. These specification statements along with the inventors' sworn

declarations, attached hereto as Exhibits K-L, wherein they each swore under oath that they

believed they were the original inventors of many of the same elements and other inventive

concepts of the Network Patents' claims, are factual evidence that these elements and inventive

concepts were not conventional in 2005. In fact, these inventors and DDI itself via filing and

prosecuting these applications and seeking patents for these concepts indisputably admitted and

confirmed that the subject matter they are directed to and for which they much later duplicated

into these applications, and now in 2023 had issued as patents, were and are computer




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improvements, network improvements, improved user interfaces and since their priority date is

almost 15 years behind Ameranth, they clearly were not conventional back in 2005. Further, the

admissions/statements herein are yet further evidence of their infringement of the Network Patents.

                   a. U.S. Patent No. 11,657,442, entitled "Method, Medium, and System for

                      Integration of Functionality of a Fulfillment Service Provider into Third-

                      Party Application," filed on November 11, 2021, issued on 23, attached

                      hereto as Exhibit I (emphasis added):

               Abstract: Integrating a fulfillment service provider into a third-party
               application via an Application Programming Interface (API) is described.
               In an example, a computing device associated with a fulfillment service
               provider can determine, based at least in part on an indication of an
               interaction between a user and a third-party application, that the fulfillment
               service provider has been initialized. In one example, functionality
               associated with the fulfillment service provider can be accessible to the
               third-party application via an API. In at least one example, the computing
               device can generate, based at least in part on the interaction with the third-
               party application and while the fulfillment service provider is initialized, a
               recommendation of at least one of a service, a merchant, or an item
               associated with the fulfillment service provider. The computing device can
               cause the recommendation to be presented via at least one of the third-party
               application or the fulfillment service provider.

               Col. 3, l. 53 – col. 4, l. 26: As will be described below, techniques
               described herein can be implemented via a communication network
               that enables third-party applications to communicate with server(s)
               that are associated with a fulfillment service provider. Techniques
               described herein thus utilize the technical capability of such a
               communication network to enable the integration of services and/or
               functionalities that are available via different service providers into a single
               access point. That is, as described herein, techniques utilize API(s) to
               enable third-party applications to integrate services and/or
               functionalities of a fulfillment service provider. For instance, individual
               third-party service providers can utilize API(s) and/or a software developer
               kit (SDK) provided by the fulfillment service provider to allow third-party
               developers to include fulfillment service provider functionality and/or avail
               fulfillment service provider services in association with their own third-
               party applications. That is, the API(s) and/or SDK can enable third-
               party developers to customize how their respective third-party
               applications interact with the fulfillment service provider. The third-
               party applications can exchange data with the server(s) that host the


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    fulfillment service provider, using the technical capabilities of
    communication networks, to provide such functionality and/or services.
    In many examples, as described below, the use of fulfillment service
    provider functionality and/or services can be dynamic and individualized
    for each of the third-party applications, thereby providing more efficient
    use of functionalities and/or services available via the fulfillment
    service provider. As such, techniques described herein are directed to
    improved performance of computing systems.

    Col 4, ll. 52-66: For instance, if a user is watching a video via a content
    providing application and wants to order a pizza, the user is required to exit
    the content providing application, determine a service that would deliver the
    pizza, and then open another application for ordering the pizza. Such a
    transition causes friction for users and, additionally, consumes
    computational resources, as described below. That is, existing
    capabilities of computing devices are inefficient. Techniques described
    herein provide a specific improvement in the capabilities of computing
    devices. For instance, instead of requiring a user to open two separate
    applications to access two different services, such is the case with existing
    capabilities of computing devices, techniques described herein are directed
    to the integration of services and/or functionalities via API(s).

    Col 5, ll. 4-8: That is techniques described herein improve the efficiency
    of using computing devices by bringing together functionalities of multiple
    service providers via a common access point, using for example, API's.

    Col 5, ll. 12-17: Thus, techniques described herein reduce friction caused
    by existing capabilities of computing devices and reduce computational
    resources required for availing services and/or functionalities from
    multiple service providers to users. As such, techniques described
    herein can offer an improvement in the functioning of computing
    devices.

    Col. 6, ll. 22-25: The fulfillment module 108 can present recommendations
    to patrons via the fulfillment user interface 114 (e.g., via push
    notifications, interstitials, deep links, text messages, or the like). The
    recommendation can be interactive to allow the user to engage with the
    recommendation while in the third-party application.

    Col 8, ll. 59-65: In at least one example, a recommendation module 126,
    which can be included in the fulfillment module 108, can generate the
    recommendations and/or cause the recommendations to be presented
    to the user(s), e.g., via push notifications, interstitials, deep-links, text
    messages, or the like. Additional details are described below.

    Col. 11, ll. 50-60: In an additional or alternative example, the
    recommendation can be presented via the fulfillment service provider.


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    That is, in such an example, the recommendation can be presented via
    another channel associated with the fulfillment service provider instead
    of, or in addition to, the third-party application 104. The
    recommendation can be sent to the user via a push notification,
    interstitial, a deep-link, a text message, or the like. The recommendation
    can be interactive to allow the user to engage with the recommendation
    while in the third-party application.

    Col. 12, ll. 15-21: If the user does not desire to take an action based on the
    recommendation, the fulfillment module 108 can refrain from
    performing additional operations (e.g., take no action), as illustrated in
    block 216. In some examples, the interactions or lack thereof can be used
    to feed into the machine learning models that make the
    recommendations.

    Col. 16, ll. 49-56: If the event details are not updated, the recommendation
    can continue to be presented until the recommendation
    module 126 determines to terminate the recommendation (e.g., after a
    lapse of a predetermined period of time, etc.) or the user otherwise
    interacts with the third-party application 104 (e.g., takes an action based on
    the recommendation, closes the third-party application 104, exits the third-
    party application, etc.).

    Col, 40, ll. 38-48: Further, while the figures illustrate the components
    and data of the server(s) 1504 as being present in a single location, these
    components and data can alternatively be distributed across different
    computing devices and different locations in any manner.
    Consequently, the functions can be implemented by one or more server
    computing devices, with the various functionality described above
    distributed in various ways across the different computing devices.
    Multiple server(s) 1504 can be located together or separately, and
    organized, for example, as virtual servers, server banks and/or server
    farms.

    Col. 42, l. 63 – col. 43, l. 5: In at least one example, the system 1500 can
    include a datastore 1544 that can be configured to store data that is
    accessible, manageable, and updatable. In some examples, the
    datastore 1544 can be integrated with the user device 1502 and/or the
    server(s) 1504. In other examples, as shown in FIG. 15, the
    datastore 1544 can be located remotely from the server(s) 1504 and can
    be accessible to the server(s) 1504. The datastore 1544 can comprise
    multiple databases and/or servers connected locally and/or remotely
    via the network(s) 1506.

    Col. 44, ll. 35-45: Furthermore, the methods described above are
    illustrated as collections of blocks in logical flow graphs, which



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    represent sequences of operations that can be implemented in
    hardware, software, or a combination thereof. In the context of
    software, the blocks represent computer-executable instructions stored
    on one or more computer-readable storage media that, when executed
    by processor(s), perform the recited operations. Generally, computer-
    executable instructions include routines, programs, objects,
    components, data structures, and the like that perform particular
    functions or implement particular abstract data types.

        b. U.S. Patent No. 11,710,172, entitled "Dynamically Providing

            Context-Based Notification and Fulfillment," filed on April 15,

            2021, issued on July 25, 2023, attached hereto as Exhibit J

            (emphasis added):

    Abstract: In some examples, a location of a merchant is updated as the
    merchant moves. A server receives the location of the merchant, and
    compares that location to the location of a user, so as to determine whether
    the merchant is located within a first threshold distance or a second, smaller
    threshold distance from the location of the user. If the user is within the first
    threshold distance, the server presents a first point of sale (POS) interface
    to initiate an order from the merchant and present the user with an option to
    fulfill that order through delivery. If the merchant is located within the
    second, smaller threshold distance from the user, the server presents the user
    with a second POS interface that gives the user an option to fulfill the order
    through pickup instead of delivery."."

    Col. 2, ll. 31-38: The present disclosure relates to systems and methods for
    dynamically determining whether and how to provide notification to a
    customer of a changeable remote location of a merchant, and fulfillment
    options for vending products from that merchant to a customer. In one
    embodiment, a network of one or more merchants offers products for sale
    via a common application or interface that communicates with a third party
    server.

    Col. 2, ll. 52-56: The notification may be displayed on the customer
    device in a manner that allows the customer to see the identity of the
    merchant and/or their products, and to make a purchase for later pick up or
    delivery. In a similar manner, the merchant device may receive
    appropriate notifications of relevant customers in a merchant's proximity.

    Col. 2, ll. 60-66: In some embodiments, the virtual boundary may a geo-
    fence that bounds a geographic area around a particular device. In some
    embodiments, the virtual boundary may be drawn (or set) with
    consideration of other contextual factors, such as past purchases, a


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    customer's indicated interest, a merchant's route, a merchant's
    intended marketing plan, or any other appropriate factor that may
    provide contextual information regarding the users within the geographic
    area in which the merchant intends to travel.

    Col. 3, ll. 15-23: This determination may be based on a user's previous
    purchases or actions, current conditions (like time, weather, or traffic),
    merchant saturation indicators in the target area(s), customer interest
    indicators (e.g., a preference in cuisine or price range) provided by the
    customer or obtained from a third-party system, and the like. In some
    embodiments, a determination of customer interest may be predictive,
    deterministic, and/or based on a classification of users in accordance with
    one or more user characteristics.

    Col. 3, ll. 35-38: Alternate embodiments are also contemplated where an
    opposite flow is implemented, that is, notifications of customers are
    provided to a merchant, such notifications happening additionally or
    alternately to notifications to customers. In such embodiments,
    notifications to one or more merchants may happen
    contemporaneously with, serially to, or otherwise at a separate time
    from notifications made to customers.

    Col. 4, ll. 4-12: In some embodiments, the disclosed methods and systems
    send, to a merchant device, a notification of relevance (e.g., based on
    proximity, time, customer or merchant preferences, etc.) of one or more
    customers, such notification being customizable to a particular subset
    of the merchant's customer base. In one such embodiment, a merchant-
    facing user interface may allow the merchant to identify one or more
    "loyal" customers, for example those who make repeated purchases
    from the merchant. A fulfillment server may then notify the merchant
    when the merchant moves to a location that is in proximity to one or more
    of those loyal customers.

    Col. 4, ll. 20-29: In another embodiment, the disclosed methods and
    systems compile and/or aggregate and present, to a merchant device,
    information regarding one or more customers. In one such embodiment,
    after a notification of proximity has been sent to customers, the customers
    who express interest in making a purchase may be determined. This
    information may be summarized and transmitted to the merchant. In some
    embodiments, prior to the transmission of a notification of proximity,
    information regarding the customers and/or their predicted interest in
    the merchant and its products (a customer profile), a selected location
    (a location profile), and/or current conditions (a condition profile), and
    the merchant themselves (a merchant profile) may be analyzed in order
    to generate location, route, and/or product recommendations to the
    merchant.



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    Col. 4, ll. 34-49: In some embodiments, this recommendation or aggregated
    data may be presented to the merchant in a variety of forms, such as a
    dashboard or graphical format, or as a suggestion for one or more
    actions to be taken by the merchant, for instance a suggested location or
    route for sale of their products, or a suggested product that is predicted to
    be successful in a particular market or geographic area.

    Col. 5, ll. 5-9: The technology herein employs a plurality of computing
    devices, such as mobile devices, to provide targeted and automatic
    recommendations of merchants and/or products to customers based on
    proximity or other relevant context, without customers having to perform
    search or filtering of merchant's and/or their products.

    Col. 5, ll. 17-22: As a further result of the technology described herein,
    there may be an interaction of multiple computing devices to expedite a
    fulfillment process by dynamically determining which of several
    fulfillment options (e.g., pickup, delivery, both) may apply given a
    changeable proximity between the merchant and the customer (e.g., a
    moving food truck), or overall network efficiency.

    Col. 5, ll. 28-45: This technology may also provide a highly-customizable
    interface for specifying fulfillment options based on practical and/or
    conditional considerations, including merchant and customer
    preferences, current environmental and geographic conditions, the
    availability of transient or time-sensitive fulfillment options, such as
    third-party assistance, among other considerations. That is, the systems and
    methods described herein may also provide a way of determining real-time
    locations of one of more entities involved in the fulfillment or an order, and
    displaying a graphical user interface to any of a customer, a merchant, or a
    courier, that automatically provides an indicator of such real-time locations,
    and/or automatically provides, in dependency of such real-time locations,
    dynamic options for fulfillment of an order. By these means, the user
    customer, merchant, or courier is presented with an improved user
    interface for electronic devices.

    Col. 5, ll. 50-57: Additionally, the systems and methods described herein
    further provide the ability to receive, via a user interface, a customer
    selection of an order, to determine, based on real-time location
    determining systems, locations of one or more mobile entities with
    changeable locations (such as merchant systems, customer systems, and in
    some embodiments third party systems such as couriers), and/or to
    automatically coordinate and monitor location-based fulfillment
    between the mobile entities.

    Col. 6, ll. 23-38: Merchant system 24 may include a device 20 such as a
    mobile phone such an iPhone or Android device, an iPad or tablet
    device, a laptop, or touchscreen device, though any practical device that


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    can communicate with the network 30 may be appropriate. In the
    embodiment        of FIG. 1 , merchant   system 24 includes    a payment
    reader 25 illustrated as a standalone mobile hardware device, though the
    configuration is not so limited. In other embodiments, the payment
    reader 25 may be integrally incorporated into the merchant device 20, for
    instance where the merchant device 20 is a smart phone (iOS or
    Android) or another computing device that is configured to act as an
    embedded card reader (ECR). In still other embodiments, reader 25 may be
    presented as software (such as an application installed on a mobile
    device), hardware, or any combination thereof in another component
    of environment 10.

    Col. 7, ll. 8-21: A customer device 40 may be any device operated (or
    operable) by a customer that is able to communicate with the merchant
    device 20 and a central server 50 (described further herein) via
    the network 30. The term "customer" (also referred to herein as a "user"
    (of a POS system), a "purchaser" or the like) may be any individual or entity
    that may purchase or intend to purchase a product or service of a merchant,
    or may be potentially interested in purchasing a product or service of a
    merchant. A customer device 40 may be, for instance, a mobile phone
    such as an iPhone or Android device, an iPad or tablet device, a laptop
    or touchscreen device, a PC or stationary computing device, or any other
    practical device that can communicate via the network 30.

    Col. 7, l. 66 – col. 8, l. 8: Environment 10 may also include one or more
    servers 50. A server 50 is, in some embodiments, remote to
    the merchant device 20 and customer devices 40 but is capable of
    transmitting and receiving information therewith via the network 30.
    In the embodiment of FIG. 1 , remote server 50 is a mobile fulfillment
    server (also referred to herein as "fulfillment server") capable of
    processing and transmitting data to, from, and between merchant
    device 20 and customer device 40 to facilitate sales transactions in a
    manner described in greater detail below.

    Col. 8, ll. 48-65: In some embodiments, fulfillment server 50 may, upon
    a determination of proximity with the merchant device 20, present to a
    customer device 40 a customer-facing user interface (e.g., a graphical
    user interface) that displays a notification of proximity to the merchant.
    In some embodiments, this notification may prompt the customer
    device 40 to transmit an indication of interest in making a purchase
    from (or otherwise interacting with) the merchant. In some
    embodiments, the fulfillment server 50 may then present to the
    customer device 40 a user interface through which the customer can
    purchase or order a product from the merchant; viz., fulfillment
    server 50 may provide one or more components of a POS system
    between the merchant and the customer. In some examples, fulfillment
    server 50 may transmit order information to the merchant


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                device 20 via a merchant-facing user interface, email, instant
                messaging, or other type of electronic communication, or via voice,
                SMS, voicemail, or any other appropriate type of communication.

                Col. 9, ll. 16-34: The fulfillment server may then deliver different sets
                of data to each of the respective customers detailing fulfillment options
                specific (though not necessarily unique) to that customer. For
                instance, fulfillment server 50 may present to customer device 40-1, via
                a user interface, two fulfillment options: pickup and delivery, and may
                present to customer device 40-1, via a user interface, only one
                fulfillment option, e.g., one of pickup or delivery. By these means,
                different sets of fulfillment data are sent to different customer devices,
                based on the devices' location and/or other relevant factors (that is,
                other context data) described in greater detail below. In some
                embodiments, merchant device 20 and one or more of customer devices 40-
                1 and 40-2 may also transmit data directly to and between each other, for
                example, transaction data regarding an order made by the customer from
                the merchant, or message data regarding the status of an order or of
                fulfillment.

                Col. 9, ll. 35-49: Fulfillment server 50 transmits and/or receives
                location data, notification data, fulfillment data, profile/preference
                data, etc. to/from one or more of the merchant device 20 and the
                customer devices 40-1 (belonging to customer 44) and 40-2 (belonging to
                customer 46). These types of data transmission, performed over
                the network 30, are illustrated in FIG. 1 as solid lines passing
                through network 30. Network 30 may include one or more of any
                appropriate network, including a wide area network (such as the
                Internet), a local area network (such an intranet), a cellular network or
                another type of wireless network, such as Wi-Fi, Bluetooth, Bluetooth
                Low Energy, and/or other close-range wireless communications, a
                wired network, such as fiber optics and Ethernet, or any other such
                network, or any combination thereof.

               COUNT I – INFRINGEMENT OF U.S. PATENT NO. 11,842,415

        92.     Ameranth repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.

        93.     Without license or authorization and in violation of 35 U.S.C. § 271(a), Defendants

are liable for infringement of at least claims 1 and 9 of the '415 patent by making, using, importing,

offering for sale, and/or selling, (a) an improved and intelligent web server computer with multi-

modes of contact, multi-communications protocols, multi-user and parallel operational capabilities


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for use in a hospitality market and (b) a network of interconnected, intelligent and improved web

server computers with multi-modes of contact, multi-communications protocols, multi-user and

parallel operational capabilities for use in a hospitality market, respectively, (collectively, the

"Accused Instrumentalities"), because each and every element is met either literally or

equivalently.

       94.      Upon information and belief, Defendants have used and tested the Accused

Instrumentalities in the United States, directly infringing one or more claims of the '415 patent.

       95.      The Accused Instrumentalities satisfy each and every element of each asserted

claim of the '415 patent, either literally or under the doctrine of equivalents.         Exemplary

preliminary claim charts illustrating infringement of claims 1 and 9 are attached hereto as Exhibits

M1-M2, and incorporated herein by reference.

       96.      In addition to the extensive and detailed infringement chart, backed by 100+

evidentiary citations attached thereto, including extensive and detailed technical video

presentations and case studies directly from the Defendants, DDI has admitted to infringement in

various public statements, not only as detailed in the extensive claims chart, but as shown below

via an August 2022 interview of DDI's Vice President of Analytics and Data Science, Jessica

Lachs, and when combined with the DDI's post about its recently created Iguazo "Big Picture"

framework/architecture pictorially reflecting its infringement of the '415 patent claims. The Iguazo

"Big Picture"(further illuminated by the statements by Ms. Lachs and many other DDI engineering

team leaders and developers as is shown in the evidence attached to the preliminary claim chart)

clearly demonstrates, explains, and admits to Defendants' infringement of the '415 patent claims

and is further explained as to the Iguazo system diagram below.




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       97.     In the interview, a video of which is attached as Exhibit 98 to the preliminary claim

chart and also available at https://www.youtube.com/watch?v=g-1MaOCFgUc (last accessed Dec.

20, 2023), DDI's Vice President of Data Science admits:

         •   "And so for us, it's really about collecting as much information as we can
             about all sides of the marketplace, bringing all of that data together into a
             central data platform, where all of that data is accessible no matter the source.
             Whether it is coming from our production systems, transactional data,
             whether it is event data in our apps, whether that's the consumer app, the
             dasher app, the merchant app . . . whether it is coming from our CRM systems.
             All of that data needs to come in to one central place so that we can tie it
             together and use the insights together to create a 360 degree picture of what's
             happening on our platform and off our platform so that we can use that
             information not just to provide accurate menus and inventory for consumers
             but also so we can send the right email communications to consumers, to
             dashers, so that we really have a full picture of what's happening and can use
             that for personalization and to help all three sides of our marketplace really
             optimize that they are at their peak efficiency."

         •   "So, for us, we want data to be easily accessible to all the different teams
             that need access to it. Analytics, being one of the largest customers of data at
             DoorDash, of course, but the way we think about our data models is really
             about increasing accessibility and consistency to that data. So, having all of
             our data in one central place and making sure that it is high in performance
             and so like query speeds are fast and that data models are thoughtful, so that
             it makes it a lot easier for data scientists, analysts, operators, product
             managers to be able to query the data that is needed and use the data in our
             production, in our production systems as well. So, we try to be thoughtful
             about how we structure our data models and how we ensure that all of the
             different production systems tie together into that central, as you mentioned,
             that central data lake."

       98.     In the post "Building Scalable Real Time Event Processing" (available at

https://www.youtube.com/watch?v=BqbN-DD24SE (last accessed Dec. 20, 2023)), a lead

engineer at DDI working on its real-time data infrastructure showed the "architectural overview of

Iguazu." As a POSITA would understand, the Iguazo system diagram shows the DoorDash

platform and "360 degree picture," and as illuminated by many other DDI technical statements,

papers, admissions and presentations in the attached exhibits, it depicts the framework and layered

architecture of the '415 patent claims, clearly operating with/on clusters of the claimed web servers


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and including its master database as is shown on the far right, the hospitality tasks from, e.g.,

consumers and Dashers and food importation inputs from the restaurants on the far left (i.e. their

external clients) and the integration, API's communication protocols, and intelligence of the

claimed '415 patent inventions in the center and including the interactivity and integration of the

system elements in their ordered combination.




        99.     Ameranth is entitled to recover from Defendants the damages sustained by

Ameranth as a result of Defendants' infringement of the '415 patent in an amount subject to proof

at trial, which, by law, cannot be less than a reasonable royalty, together with interest and costs as

fixed by this Court under 35 U.S.C. § 284.

               COUNT II – INFRINGEMENT OF U.S. PATENT NO. 11,847,587

        100.    Ameranth repeats and realleges the allegations of the preceding paragraphs as if

fully set forth herein.




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       101.    Without license or authorization and in violation of 35 U.S.C. § 271(a), Defendants

are liable for infringement of at least claims 1 and 7 of the 587 patent by making, using, importing,

offering for sale, and/or selling, an intelligent back office and handheld/mobile distributed

computing network with varying, multi-modes of contact, and parallel operational capabilities for

use in completing remotely initiated hospitality tasks in the hospitality market (collectively, the

"Accused Platform"), because each and every element is met either literally or equivalently.

       102.    Upon information and belief, Defendants have used and tested the Accused

Platform in the United States, directly infringing one or more claims of the '587 patent.

       103.    The Accused Platform satisfies each and every element of each asserted claim of

the '415 patent, either literally or under the doctrine of equivalents. Exemplary preliminary claim

charts illustrating infringement of claims 1 and 7 are attached hereto as Exhibits M3-M4, and

incorporated herein by reference.

       104.    In addition to the extensive and detailed infringement chart, backed by 100+

evidentiary citations attached thereto, including extensive and detailed technical video

presentations and case studies directly from the Defendants, DDI has admitted to infringement in

various public statements, not only as detailed in the extensive claims chart, but as shown below

via an August 2022 interview of DDI's Vice President of Analytics and Data Science, Jessica

Lachs, and when combined with the DDI's post about its recently created Iguazo "Big Picture"

framework/architecture pictorially reflecting its infringement of the 587 patent claims. The Iguazo

"Big Picture"(further illuminated by the statements by Ms. Lachs and many other DDI engineering

team leaders and developers as is shown in the evidence attached to the preliminary claim chart)

clearly demonstrates, explains, and admits to Defendants' infringement of the '587 patent claims

and is further explained as to the Iguazo system diagram below.




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       105.    In the interview, a video of which is attached as Exhibit 98 to the preliminary claim

chart and also available at https://www.youtube.com/watch?v=g-1MaOCFgUc (last accessed Dec.

20, 2023), DDI's Vice President of Data Science admits:

         •    "And so for us, it's really about collecting as much information as we can
              about all sides of the marketplace, bringing all of that data together into a
              central data platform, where all of that data is accessible no matter the source.
              Whether it is coming from our production systems, transactional data,
              whether it is event data in our apps, whether that's the consumer app, the
              dasher app, the merchant app . . . whether it is coming from our CRM systems.
              All of that data needs to come in to one central place so that we can tie it
              together and use the insights together to create a 360 degree picture of what's
              happening on our platform and off our platform so that we can use that
              information not just to provide accurate menus and inventory for consumers
              but also so we can send the right email communications to consumers, to
              dashers, so that we really have a full picture of what's happening and can use
              that for personalization and to help all three sides of our marketplace really
              optimize that they are at their peak efficiency."

         •    "So, for us, we want data to be easily accessible to all the different teams
              that need access to it. Analytics, being one of the largest customers of data at
              DoorDash, of course, but the way we think about our data models is really
              about increasing accessibility and consistency to that data. So, having all of
              our data in one central place and making sure that it is high in performance
              and so like query speeds are fast and that data models are thoughtful, so that
              it makes it a lot easier for data scientists, analysts, operators, product
              managers to be able to query the data that is needed and use the data in our
              production, in our production systems as well. So, we try to be thoughtful
              about how we structure our data models and how we ensure that all of the
              different production systems tie together into that central, as you mentioned,
              that central data lake."

       106.    In the post "Building Scalable Real Time Event Processing" (available at

https://www.youtube.com/watch?v=BqbN-DD24SE (last accessed Dec. 20, 2023)), a lead

engineer at DDI working on its real-time data infrastructure showed the "architectural overview of

Iguazu." As a POSITA would understand, the Iguazo system diagram shows the DoorDash

platform and "360 degree picture," and as illuminated by many other DDI technical statements,

papers, admissions and presentations in the attached exhibits, it depicts the framework and layered

architecture of the '587 patent claims, clearly operating with/on clusters of the claimed web servers


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and including its master database as is shown on the far right, the hospitality tasks from, e.g.,

consumers and Dashers and food importation inputs from the restaurants on the far left (i.e. their

external clients) and the integration, API's communication protocols, and intelligence of the

claimed '587 patent inventions in the center and including the interactivity and integration of the

system elements in their ordered combination.




       107.    Ameranth is entitled to recover from Defendants the damages sustained by

Ameranth as a result of Defendants' infringement of the '587 patent in an amount subject to proof

at trial, which, by law, cannot be less than a reasonable royalty, together with interest and costs as

fixed by this Court under 35 U.S.C. § 284.

                                         JURY DEMAND

       Ameranth hereby demands a trial by jury on all issues so triable.

                                     PRAYER FOR RELIEF

       WHEREFORE, Ameranth requests that this Court enter judgment against Defendants as




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follows:

       A.      An adjudication that Defendants have infringed the '415 and '587 patents;

       B.      An award of damages to be paid by Defendants adequate to compensate Ameranth

for Defendants' past infringement of the '415 and '587 patents and any continuing or future

infringement through the date such judgment is entered, including interest, costs, expenses and an

accounting of all infringing acts including, but not limited to, those acts not presented at trial;

       C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

Ameranth's reasonable attorneys' fees; and

       D.      An award to Ameranth of such further relief at law or in equity as the Court deems

just and proper.



Dated: December 22, 2023               /s/ Vincent A. Coppola
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